     Case 2:14-cv-02635-DMG-AS Document 12 Filed 07/30/14 Page 1 of 2 Page ID #:35




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7
                       UNITED STATES DISTRICT COURT
8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
9

10   ANN FOX, INDIVIDUALLY AND                    )   Case No. 2:14-cv-02635-DMG (ASx)
11   ON BEHALF OF ALL OTHERS                      )
     SIMILARLY SITUATED,                          )   JOINT REQUEST TO DISMISS
12
                                                  )   INDIVIDUAL   CLAIMS  WITH
13   Plaintiff,                                   )   PREJUDICE AND THE PUTATIVE
14
                                                  )   CLASS    CLAIMS   WITHOUT
            vs.                                   )   PREJUDICE
15                                                )
16   AUS, INC,,                                   )
                                                  )
17
     Defendant.                                   )
18                                                )
19

20          NOW COME THE PARTIES by and through their attorneys to respectfully
21
     move this Honorable Court to dismiss Plaintiff’s individual claims with prejudice
22

23
     and the putative class claims without prejudice pursuant to Federal Rules of Civil

24   Procedure 41(a)(1)(A)(ii).   Each party shall bear their own costs and fees. A
25
     proposed order has been concurrently submitted to this Court via email.
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                                       Stipulation to Dismiss- 1
     Case 2:14-cv-02635-DMG-AS Document 12 Filed 07/30/14 Page 2 of 2 Page ID #:36




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                        Respectfully submitted this 30th day of July, 2014

2                                   By: s/Todd M. Friedman
3                                       Law Offices of Todd M. Friedman, P.C.
                                        Attorney for Plaintiff
4

5                               By: s/David S. Eisen
6
                                      Wilson Elser Moskowitz Edelman & Dicker LLP
                                      Attorney for Defendant
7

8    Filed electronically on this 30th day of July, 2014, with:
9
     United States District Court CM/ECF system
10
     Notification sent electronically via the Court’s ECF system to:
11

12   David S. Eisen
13
     Attorney at Law
     Wilson Elser Moskowitz Edelman & Dicker LLP
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     555 S. Flower Street - Suite 2900
15   Los Angeles, CA 90071-2407
16
     This 30th day of July, 2014.
17

18
     s/Todd M. Friedman
     Todd M. Friedman
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                                        Stipulation to Dismiss- 2
